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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


ALL THINGS, LLC, an Idaho limited liability
company,
                                                     COMPLAINT FOR COPYRIGHT
               Plaintiff,                            INFRINGEMENT

vs.                                                  JURY DEMAND

MEHMET AYDIN,
               Defendant.



       Plaintiff ALL THINGS, LLC, an Idaho limited liability company (“Plaintiff”), by and

through its attorneys, HAWLEY TROXELL ENNIS & HAWLEY LLP, complains of Defendant

Mehmet Aydin (“Defendant”), and alleges as follows:

                   NATURE OF ACTION, JURISDICTION AND VENUE

       1.      This is an action arising out of Defendant’s infringement by unlawful copy and

use of Plaintiff’s product images, set forth, and incorporated by reference in this Complaint in



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Exhibit A (“Infringed Product Images”). This action arises under the Copyright Act of 1976,

as amended, 17 U.S.C. §§ 101, et seq.

       2.      The Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. §§ 1331 and 1338.

       3.      This Court has specific personal jurisdiction over Defendant due to Defendant

purposefully directing his activities complained herein toward Idaho.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1400.

                                 FACTUAL ALLEGATIONS

       5.      Plaintiff is an Idaho limited liability company engaged in the business of online

retail store services, selling namely boots, fishing waders, backpacks, and lunch boxes. Plaintiff

sells its products on Amazon.com and other websites.

       6.      The Infringed Product Images are copyrightable subject matter.

       7.      Plaintiff owns these copyrights. Plaintiff filed a United States copyright

registration application for the Infringed Product Images.

       8.      Plaintiff discovered that Defendant was utilizing a third-party program to lift from

Plaintiff’s Amazon.com listings the exact text and images as contained in the Infringed Product

Images for use on Defendant’s eBay Listing No. 222961786172.

       9.      On information and belief, Defendant reproduced and publicly displayed the

Infringed Product Images on Defendant’s eBay Listing No. 222961786172.

       10.     Plaintiff submitted a Digital Millennium Copyright Act (DMCA) takedown notice

to eBay’s designated agent, demanding expeditious removal of the Infringed Product Images.




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        11.     eBay responded by removing the Infringed Product Images; however, Defendant

subsequently filed a DMCA Counternotification Regarding Removed Listing on June 11, 2018

(the “Counter Notice”) (attached hereto and incorporated by reference in this Complaint as

Exhibit B), necessitating the instant action to prevent eBay’s restoring the Infringed Product

Images to Defendant’s eBay Listing No. 222961786172.

                          COUNT I: COPYRIGHT INFRINGEMENT

        12.     Plaintiff repeats and incorporates herein all the allegations set forth above as if set

forth in full herein.

        13.     Since their introduction, Plaintiff’s products have achieved tremendous success

and acceptance in the United States and throughout the world.

        14.     Plaintiff has spent extensive amounts of money and years of creative effort to

advertise its product lines.

        15.     Defendant’s conduct in reproducing and publicly displaying the Infringed Product

Images without Plaintiff’s permission constitutes infringement of Plaintiff’s copyrights under

17 U.S.C. § 106.

        16.     Defendant’s actions herein are a willful infringement of Plaintiff’s exclusive

copyrights in the Infringed Product Images.

        17.     By reason of Defendant’s acts of willful copyright infringement, Plaintiff has

suffered and will continue to suffer irreparable injury that cannot be adequately remedied at law.

        18.     By reason of Defendant’s acts of willful copyright infringement, Plaintiff has

suffered financial damages in an amount to be proven at trial.




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        19.     Because of Defendant’s acts of willful copyright infringement, Plaintiff requests

an award of its attorneys’ fees pursuant to 17 U.S.C. § 505.

                                        JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury on any

issue so triable.

        WHEREFORE, Plaintiff prays for judgment as follows:

        1.      Enjoining Defendant, his agents, servants and employees, and those persons in

active concert or participation with him, from infringing, or contributorily or vicariously

infringing, Plaintiff’s copyrights in the Infringed Product Images in any manner, directly or

indirectly;

        2.      Enjoining Defendant, his agents, servants and employees, and those persons in

active concert or participation with them, from creating derivative works of the Infringed Product

Images and from reproducing, distributing or publicly displaying any versions, revisions or

modifications of the Infringed Product Images or any derivative works based thereon;

        3.      Ordering Defendant to account for all gains, profits and advantage derived from

his infringement of Plaintiff’s copyrights;

        4.      Entering judgment in favor of Plaintiff and against Defendant in an amount equal

to the damages sustained by Plaintiff and the profits earned by Defendant from the infringements

alleged herein, pursuant to 17 U.S.C.A. § 504(b);

        5.      Entering judgment in favor of Plaintiff and against Defendant for statutory

damages, pursuant to 17 U.S.C. § 504(c);




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       6.        Entering judgment in favor of Plaintiff and against Defendant ordering the

impounding and destruction of all infringing products, or any version, revision or modification

thereof, or any derivative works based thereon;

       7.        Entering judgment in favor of Plaintiff and against Defendant for Plaintiff’s

incurred attorneys’ fees and recoverable costs; and

       8.        Ordering such other relief as the Court deems just and equitable under the

circumstances.

       DATED THIS 22nd day of June, 2018.

                                             HAWLEY TROXELL ENNIS & HAWLEY LLP




                                             By       /s/ Brent R. Wislon
                                                  Brent R. Wilson, ISB No. 8936
                                                  Attorneys for Plaintiff All Things, LLC




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                              EXHIBIT A

                     INFRINGED PRODUCT IMAGES




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                              EXHIBIT B

        COUNTER NOTIFICATION REGARDING REMOVED LISTING




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